            Case 4:22-cr-00199-SHL-HCA Document 74-4 Filed 02/01/23 Page 1 of 3

                                          Adair City Council
                                         City Hall Chambers
                                          October 26, 2022


A regular city council meeting was held October 26, 2022 at the City Hall Chambers. Present were
Mayor Joanne Byars, who called the meeting to order at 6:33pm, City Supervisor, Ryan Billheiemer,
Clerk Sandy Riley, City Attorney Clint Fichter, Council Persons, Perry Leeper, Paul Gettler, Rick
Stanley, Kyle Irlmeier. Council person Jim Zimmerline came at 7:00pm.
Pledge of Allegiance was said.
Approval of agenda made by Gettler and second by Stanley. All Ayes.
Approval of Consent Agenda was made by Stanley and second by Irlmeier. All Ayes
The following bills were presented for approval:
 The following bills were presented for approval:
 ADAIR NEWS                                   31316            1291.97
 ACCO                                         226771-IN        2013.46
 ALLIANT ENERGY                               SEPT UTILITIES   6694.39
 BLACK HILLS CORP.CO.                         UTILITIES         356.47
 DNR                                          2556              115.00
 DELTA DENTAL                                 DENTAL INS       1236.06
 EXCHANGE STATE BANK                          POLICE TRK       1378.86
 IPERS                                        IPERS            6447.68
 WINDSTREAM                                   TELEPHONE BILL    168.78
 JETCO                                        17362             576.80
 JACOBSENS                                    125371           1083.95
 KEYSTONE LAB                                 CV2201000        1542.50
 GUTHRIE CO REC                               Aug Utilities    2165.12
 RYAN BILLHEIMER                                                 75.00
 SCHILDBERGS                                  SEPT ROCK         428.00
 TREASURER-IOWA W/H                           STATE TAX        1684.00
 VERIZON                                                         90.50
 MUNICIPAL SUPPLY                             849318            853.85
 MTS. INC.                                                     4383.74
 ANITA TRIBUNE                                SEPT ADV           24.00
 JASON ROBERTS                                DELIVER ROCK      119.84
 EFTPS                                        FED/FICA TAX     9415.18
 ZIEGLER POWER SYSTEMS                        112800           2585.17
 IOWA CHILD SUPPORT                           CHILD SUPPORT    1525.32
 TITAN MACHINERY                              17526037-GS      5622.35
 SNYDER & ASSOCIATES                          119.0571.09-19   5492.00
 ACCU JET SEWER AND DRAING                    5864             1751.20
 MARK EMGARTEN                                                   75.00             GOVERNMENT
 SMALL CITY                                   Aug Prof Srv     3900.00               EXHIBIT

 CLEAN SWEEP                                  SEPT              589.00                  3
 IOWA PUMP WORKS                              19179            6808.41              4:22-cr-199



                                                                                      12287
            Case 4:22-cr-00199-SHL-HCA Document 74-4 Filed 02/01/23 Page 2 of 3

 PLOWMAN & STANLEY TRENCHN                   3521                   560.94
 COMPUTER                                    50772                  149.50
 IRLMEIER                                    785352                 240.00
 HAWKINS                                     6294659                840.22
 ANITA SUPPLY CENTER                         186086                 173.43
 BAKER & TAYLOR                              2036951390             196.55
 IOWA FIRE EQUIPMENT CO                      INSPECTION             151.00
 MIDSTATES BANK                              INTEREST PYMT        20786.32
 ACCESS SYSTEMS LEASING                      LEASE                  765.14
 CASEY MUTUAL TELEPHONE CO                                          139.90
 GWORKS                                      PORTAL SUBS            132.00
 VSP                                         Insurance              224.94
 DEREK SARGENT                               2022 Grant Pymt       1258.00
 ALLIED BENEFIT SYSTEMS                      INSURANCE             5378.45
 GOOD SHEPARD CHURCH                         WREATHS                 50.00
 LIBERTY NATIONAL                            LIBERTY NAT             56.16
 CULLIGAN WATER                              SEPT WATER               7.90
 PARAMOUNT-DESTINATION                       DRAW 1              118307.00
 R & S WASTE DISPOSAL                        OCT SERVICE             70.62
 SANDY RILEY                                 OCT CELL                75.00
 JASON HUSS                                  PARTS/LABOR            180.30
 AMERICAN UNDERGROUND                        21983.001               37.49
 TBB&M                                       PAY APP 4           106115.00
                                             2022 TAX
 I-80 ENTERPRISES                            INCENTIVE            13630.00
 LOGAN JENSEN                                Closing Statement    18500.00
 ROTO                                        E-2476                 278.20
 LINDA BETSINGER                             NOV VISIT               75.00
                                             CLAIMS TOTAL        358872.66

  GENERAL FUND                    33975.21
  ROAD USE FUND                    2577.55
  EMPLOYEE BENEFIT FUND            1763.13
  DEBT SERVICE FUND                 687.68
  COMMUNITY DEVELOPMENT
  FUND                            14888.00
  HOUSING PROGRAM FUND           137085.20
  CAPITAL PROJECTS FUND          133921.54
  WATER FUND                      13312.24
  SEWER FUND                      16278.37
  GARBAGE FUND                     4383.74


Clint Fichter gave updates on nuisance properties and court dates.
Discussed finishes at community building and decided not to change plans.




                                                                              12288
              Case 4:22-cr-00199-SHL-HCA Document 74-4 Filed 02/01/23 Page 3 of 3

Motion to enter a closed session on Iowa Code 21.ri to evaluate employee conduct was made at 7:05
pm by Stanley and second by Leeper. Stanley: Aye, Leeper: Aye, Irlmeier: Aye, Gettler: Aye,
Zimmerline: Aye

Motion to close closed session made by Stanley and second by Leeper. Stanley: Aye, Leeper: Aye,
Irlmeier: Aye, Gettler: Aye, Zimmerline: Aye.

Motion made by Stanley to reinstate Chief Wendt with purchasing restrictions and seconded by
Leeper. Stanley: Aye, Leeper: Aye, Irlmeier: Aye, Gettler: Aye, Zimmerline: Abstain.

Motion to adjourn at 7:50 pm made by Irlmeier and second by Zimmerline. All Ayes




Sandy Riley, City Clerk




Joanne Byars, Mayor




                                                                                     12289
